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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                    FLINT DIVISION

 In Re:                                             Case No. 15-31823-dof

 John Clair Mellott
                                                    Chapter 13
 Rebecca Arnell-Mellott

 Debtors.                                           Judge Daniel S. Opperman

                                       PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Payment Change has
been duly electronically serviced, noticed or mailed via U.S. First Class Mail, postage prepaid on
January 29, 2019 to the following:

          John Clair Mellott, Debtor
          2706 Brown St.
          Flint, MI 48503

          Rebecca Arnell-Mellott, Debtor
          2706 Brown St.
          Flint, MI 48503

          Douglas P. Chimenti, Debtors’ Counsel
          gigassocattorney@gmail.com

          Paul B. Gigliotti, Debtors’ Counsel
          ecfgigliotti@gmail.com

          Nicholas R. Glaeser, Debtors’ Counsel
          gigliottiattorney@gmail.com

          Carl Bekofske, Trustee
          ecf@flint13.com




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   United States Trustee’s Office
   (registeredaddress)@usdoj.gov

                                          Respectfully Submitted,

                                          /s/ Molly Slutsky Simons
                                          Molly Slutsky Simons (OH 0083702)
                                          Sottile & Barile, Attorneys at Law
                                          P.O. Box 476
                                          Loveland, OH 45140
                                          Phone: 513.444.4100
                                          Email: bankruptcy@sottileandbarile.com
                                          Attorney for Creditor




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                                                                                                                       Annual Escrow
                                                                                                                 Disclosure Statement
                                                                                             Account Number
                                                                             Present Loan
                                                                                             Paid To Date                                 10/01/2018
   Borrower :               JOHN C MELLOTT                                   Information :
                            2706 BROWN ST                                                    Principal balance                            $40,121.16

                            FLINT, MI 48503                                                  Note Rate                                       7.375%

                                                                                             Regular Payment                                $324.58

                                                                                             Escrow Payment                                 $144.52

                                                                                             Suspense Payment                                  $0.00

                                                                                             Other Payments                                    $0.00
                                                                                             Suspense Balance                               $309.89
  Property Address :        2706 BROWN ST
                                                                                             Escrow Balance                                $1,493.57
                            FLINT, MI 48503
                                                                                             Unpaid Interest                                   $0.00
                                                                                             Unpaid Charges                                    $0.00

Dear JOHN C MELLOTT :

Enclosed is your Escrow Disclosure Statement and notice of new mortgage payment for your loan. At least once a year FCI reviews your
escrow account to determine if the current monthly payment amounts are sufficient to cover your projected taxes and/or insurance
premiums. Increases or decreases in your annual tax and/or insurance amounts may cause your monthly payment to change. The first
section of the Statement projects activity for the upcoming 12 months as well as any changes to your monthly installment. Prior Year
Escrow Payment Activity on the Statement reflects activity on your escrow account from March 2018 through February 2019. Payments are
shown in the month received which may not necessarily be the month due.        The Statement assumes timely receipt of payments and
scheduled disbursements through February 28, 2020.

Surplus: A Surplus is the amount by which a current impound/escrow balance exceeds the target balance for the 12-month period for the
impound/escrow account. Refunds due to Surplus will be mailed within 30 days. Tax bills other than the annual secured bill are your
responsibility to pay. Before spending your refund, you should check with your local County Tax Collector and/or the Assessor’s Office to
determine if a Supplemental Tax Bill is pending or expected to be issued.

Shortage: A Shortage means that an amount by which a current impound/escrow account balance falls short of the target balance at the
time of the impound/escrow analysis. Some reasons for the shortage include deficiency of total payments received and increases in tax
and/or insurance amount during the projection year. If you choose to pay the escrow shortage in full rather than have it collected over 12
months, your new monthly payment is the amount listed in the top portion of your Statement. Your check for the lump sum payment and
request should be submitted directly to FCI Lender Services, Inc. Attn: Escrow Department at the address listed below.

Deficiency: A Deficiency is the amount of a negative balance in an impound/escrow account which occurs due to the Servicer advancing
funds to pay the impound/escrow item.

Target Balance: A Target Balance means the estimated month-end balance in an impound/escrow account that is just sufficient to
cover the remaining disbursements from the impound/escrow account for the remainder of the 12 month period that are required to cover
annual taxes, insurance, or other escrow/impound items.

Please take the time to review the Statement prior to the changes taking place. Changes to your monthly installment, as indicated in your
Statement, will be reflected on your March, 2019 billing statement. If you are using an automatic payment provider, please notify them of
the change in payment amount to avoid possible late fees.

If you have any questions regarding this Statement, please call our toll free number at 800-931-2424, Ext. 650, Monday through Friday
between the hours of 8:00 a.m. and 5:00 p.m. Pacific Standard Time or visit our website www.trustfci.com at anytime. When calling,
please reference your loan number, so that we may better serve you.

Regards,

Customer Care Department
FCI Lender Services, Inc.


                                              Statement Date: 01-02-2019
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                       FCI Lender Services, Inc. * PO BOX 27370 * Anaheim * CA 92809-0112 * NMLS#4920 * BRE 01022780 * www.trustfci.com
                                                                                                                                                   Annual Escrow
                                                                                                                                             Disclosure Statement

                                    SUMMARY                                                                                      NEW PAYMENT INFORMATION AS OF 3/1/2019
Total Projected Payments from Escrow                                                   $1,789.17
                                                                                                               Principal & Interest                                               $324.58
Divide by # of Months in Statement Period                                                     12

Equals Monthly Projected Payments to Escrow                                             $149.10                Escrow Payment                                                     $149.10

                                                                                                               Shortage                                                             $0.00
Target Balance = Projected Pymt to Escrow +                                            $2,087.40
2 extra month cushion                                                                                          Surplus                                                              $0.00

                                                                                                               Deficiency                                                           $0.00
Starting Projected Balance (+)                                                         $2,071.65
                                                                                                               Suspense Payment                                                     $0.00
Starting Required Balance (-)                                                          $1,147.28
                                                                                                               Others                                                               $0.00

Delinquency Vouchers (-)                                                                  $0.00                Payment Amount                                                     $473.68

Your account is showing a surplus                                                       $924.37                New Payment Date                                                03/01/2019
(see letter for more information regarding surplus )



P&I:              $324.58 New Escrow:                  $149.10 New Payment:             $473.68


IMPORTANT NOTE: It is our goal to provide you with accurate escrow information. If your loan account is delinquent, this analysis may
not include current escrow information and may not accurately reflect your actual or projected escrow activity. Please inform this office
immediately of your current tax and insurance information by calling 800-931-2424 in order to         re-establish your escrow account.
Insurance information may not be calculated into this analysis if the information was not provided to the Servicer.    Please note, once
annual insurance premium information has been provided, the payment must be re-projected.

These are the escrow items we anticipate we will collect for or pay on your behalf in your upcoming 12 month period. The dollar amount
shown may be the last amount actually paid for that item, or may project the next amount due as defined by Federal Law. Based on
these anticipated disbursements, the amount of your escrow deposit is calculated and displayed here.


                                                             ESCROW ACCOUNT PROJECTIONS FOR COMING YEAR
                                                                                                                                                             Escrow Balance
Month - Year                          To Escrow           Shortage    From Escrow Description
                                                                                                                                                            Projected          Required

                                                                                       Required Deposit                                                    $2,071.65          $1,147.28

March-2019                              $149.10              $0.00             $0.00                                                                       $2,220.75          $1,296.38

April-2019                              $149.10              $0.00             $0.00                                                                       $2,369.85          $1,445.48

May-2019                                $149.10              $0.00             $0.00                                                                       $2,518.95          $1,594.58

June-2019                               $149.10              $0.00             $0.00                                                                       $2,668.05          $1,743.68

July-2019                               $149.10              $0.00        $568.14 City of Flint Tax Collector                                              $2,249.01          $1,324.64

August-2019                             $149.10              $0.00       $1,175.54 Auto-Owners Insurance                                                   $1,222.57           $298.20    *
September-2019                          $149.10              $0.00             $0.00                                                                       $1,371.67           $447.30

October-2019                            $149.10              $0.00             $0.00                                                                       $1,520.77           $596.40

November-2019                           $149.10              $0.00             $0.00                                                                       $1,669.87           $745.50

December-2019                           $149.10              $0.00            $45.49 City of Flint Tax Collector                                           $1,773.48           $849.11

January-2020                            $149.10              $0.00             $0.00                                                                       $1,922.58           $998.21

February-2020                           $149.10              $0.00             $0.00                                                                       $2,071.68          $1,147.31

        Total :                       $1,789.20             $0.00       $1,789.17




                                                              Statement Date: 01-02-2019
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                             FCI Lender Services, Inc. * PO BOX 27370 * Anaheim * CA 92809-0112 * NMLS#4920 * BRE 01022780 * www.trustfci.com
* This is your Low Point. The Low Point is zero plus the allowed reserve as guided by the Real Estate Settlement and Procedure Act
(RESPA). Reserve amount by Federal Law (RESPA) is two times your monthly Escrow Payment (T&I) Excluding (MIP,PMI) unless State
Law specifies a lower amount.

 The following statement of activity in your escrow account from March 2018           To February 2019 displays actual activity as it occurred
 in your escrow account during that period.

                                        PRIOR YEAR ESCROW PAYMENT ACTIVITY March 2018 - February 2019
Month - Year               Payments To Escrow          Payments From   Description                                                                 Balance
                                                              Escrow

March-2018                              $0.00                  $0.00                                                                             $1,837.54

April-2018                            $144.52                  $0.00 JOHN C MELLOTT                                                              $1,982.06

May-2018                              $144.52                  $0.00 JOHN C MELLOTT                                                              $2,126.58

May-2018                              $144.52                  $0.00 JOHN C MELLOTT                                                              $2,271.10

June-2018                             $144.52                  $0.00 JOHN C MELLOTT                                                              $2,415.62

July-2018                               $0.00                $568.14 City of Flint Tax Collector                                                 $1,847.48

July-2018                             $144.52                  $0.00 JOHN C MELLOTT                                                              $1,992.00

July-2018                               $0.00              $1,175.54 Auto-Owners Insurance                                                        $816.46

August-2018                           $144.52                  $0.00 JOHN C MELLOTT                                                               $960.98

September-2018                        $144.52                  $0.00 JOHN C MELLOTT                                                              $1,105.50

October-2018                          $144.52                  $0.00 JOHN C MELLOTT                                                              $1,250.02

November-2018                         $144.52                  $0.00 JOHN C MELLOTT                                                              $1,394.54

December-2018                         $144.52                  $0.00 JOHN C MELLOTT                                                              $1,539.06

January-2019                            $0.00                 $45.49 City of Flint Tax Collector                                                 $1,493.57

February-2019                           $0.00                  $0.00                                                                             $1,493.57

Total :                            $1,445.20               $1,789.17




                        Note: FCI Lender Services, Inc. is a debt collector and is attempting to collect a debt.
                              Any information obtained will be used in furtherance of that purpose.

     IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING BANKRUPTCY PROCEEDINGS, OR IF YOU HAVE RECEIVED A BANKRUPTCY DISCHARGE,
     THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN ATTEMPT TO COLLECT A DEBT.


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